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 bear Judge Parker,                                                         . MAY 2 4 2023
                                                                          Wendy Roi·
                                                                           'u.s. Distn •ver.• Clerk.
                   -                                                      W.o. OF TN ct Cou,1
 Regarding the motion by the drag queen performers who claim their first amendme~e¥19'ffls
 have been violated in the passing into law of SB0003:
 Since the law only ends the sexualized performances in the presence of minors, and in no way
 bans performances for consenting adults, these performers' rights are not being violated and
 their free speech liberty is not being hindered. Rather, the responsibility of the state of
 Tennessee to abide by the community standards of protecting innocent children are being
 upheld. To continue these explicitly vulgar performances, in the presence of children, is to
 violate these young citizens' innocence, who are at the mercy of the good judgement of adults
 upon whom they depend to protect them. Who but responsible adults can and should ensure
 a safe and healthy environment for our state's most vulnerable?

 This seems so clear, so common sense. Should we not all realize this moral duty to which we
 have been called, if we wish to enjoy the greatfreedom we seek to continue in this-great state? -
 We must realize that each and every one of us will eventually stand before God and give an
 account of our choices and actions in this life, especially with regards to how we treated the
 most innocent.

 Thank you for your consideration of these thoughts.

 With respectful regards,

 Jeanne and Guy Lupien
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